17-13381-scc        Doc 883        Filed 06/29/18 Entered 06/29/18 10:29:53                   Main Document
                                                Pg 1 of 6



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                          :     Chapter 11
                                                                :
CUMULUS MEDIA INC., et al.,                                     :     Case No. 17-13381 (SCC)
                                                                :
                  Reorganized Debtors.1                         :     (Jointly Administered)
                                                                :
                                                                :
----------------------------------------------------------------x


         ORDER (I) CHANGING THE CASE CAPTION OF THE LEAD CASE;
       (II) CONSOLIDATING THE ADMINISTRATION OF THE REMAINING
    MATTERS AT THE LEAD CASE; (III) ENTERING A FINAL DECREE CLOSING
        THE SUBSIDIARY CASES; AND (IV) GRANTING RELATED RELIEF

        Upon the motion (the “Motion”)2 of Cumulus Media Inc. (n/k/a CM Wind Down Topco

Inc.) and its affiliates in the above-captioned chapter 11 cases (collectively, the “Debtors” and, as

reorganized on and after June 4, 2018, the “Reorganized Debtors”) for entry of an order (this

“Order”), pursuant to sections 105(a) and 350(a) of title 11 of the United States Code (the

“Bankruptcy Code”), Rule 3022 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rule 3022-1 of the Local Bankruptcy Rules for the Southern District of New York

(the “Local Rules”), authorizing (i) changing the case caption of the Lead Case to CM Wind

Down Topco Inc.; (ii) consolidating the administration of the Outstanding Claims and other

Remaining Matters at the Lead Debtor in the Lead Case; (iii) entering a final decree closing the

Subsidiary Cases; and (iv) granting related relief, all as more fully set forth in the Motion; and


1
    The last four digits of Cumulus Media Inc.’s (n/k/a CM Wind Down Topco Inc.) tax identification number are
    9663. Due to the large number of Reorganized Debtors in these Chapter 11 cases, for which the Reorganized
    Debtors have been granted joint administration, a complete list of the Reorganized Debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the Voting and Claims Agent at http://dm.epiq11.com/cumulus. The location
    of the Reorganized Debtors’ service address is: 3280 Peachtree Road, N.W., Suite 2200, Atlanta, Georgia
    30305.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
17-13381-scc        Doc 883        Filed 06/29/18 Entered 06/29/18 10:29:53              Main Document
                                                Pg 2 of 6



this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Standing Order of Reference from the United States District Court for the Southern District of

New York, dated January 31, 2012; and this Court having found that it may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that the

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and consideration of the Motion and the requested relief being a core proceeding

pursuant to 28 U.S.C. § 157(b); and this Court having found that the notice of the Motion and

opportunity for a hearing thereon were appropriate under the circumstances and no other notice

need be provided; and this Court having reviewed the Motion; and this Court having determined

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is granted as set forth herein.

        2.       Upon entry of this Order, the caption for the Lead Case shall be changed as

follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                          :   Chapter 11
                                                                :
CM WIND DOWN TOPCO INC.                                         :
                                                                :   Case No. 17-13381 (SCC)
                                                                :
                  Reorganized Debtor.1                          :
                                                                :
----------------------------------------------------------------x
FN 1: The last four digits of the Reorganized Debtor’s tax identification number is 9663. The location of the
Reorganized Debtor’s service address is: 3280 Peachtree Road, N.W., Suite 2200, Atlanta, Georgia 30305.




                                                         2
17-13381-scc      Doc 883     Filed 06/29/18 Entered 06/29/18 10:29:53          Main Document
                                           Pg 3 of 6



       3.      The Clerk and other relevant parties are authorized and shall take the actions

necessary to update the ECF filing system and their respective records to reflect Cumulus Media

Inc.’s corporate name change to CM Wind Down Topco Inc., including the insertion of a docket

entry in Cumulus Media Inc.’s Chapter 11 Case as follows:

       “An order has been entered in this case directing that the caption of this case be changed
       in accordance with the corporate name change of Cumulus Media Inc. to CM Wind
       Down Topco Inc.”

       4.      The Remaining Matters, including the Outstanding Claims, shall be consolidated

and transferred to the Lead Case for administration and resolution by the Lead Debtor, including

the making or directing of any and all remaining distributions or payments on account of such

Remaining Matters. The Reorganized Debtors are authorized to appoint CM Emergence Newco

Inc. (n/k/a Cumulus Media Inc.) or any of its subsidiaries as the Disbursing Agent for purposes

of effecting distributions and payments on account of the Remaining Matters and other matters in

the Lead Case or on behalf of the Lead Debtor. All bar dates and other deadlines applicable in

the Chapter 11 Cases to the Remaining Matters shall continue to apply to the Remaining Matters

as if the Remaining Matters had not been consolidated at the Lead Debtor or in the Lead Case

and are unaffected by this Order.

       5.      Pursuant to section 350(a) of the Bankruptcy Code, Bankruptcy Rule 3022, and

Local Rule 3022-1, the Chapter 11 Cases listed on Schedule 1 attached hereto (the “Subsidiary

Cases”) are hereby closed effective as of the date of entry of this Order.

       6.      The Court retains jurisdiction as provided in the Plan, and the entry of the final

decrees as provided herein is without prejudice to the rights of any party in interest to seek to

reopen the Subsidiary Cases for cause shown.




                                                 3
17-13381-scc     Doc 883      Filed 06/29/18 Entered 06/29/18 10:29:53            Main Document
                                           Pg 4 of 6



         7.    Upon entry of this Order, the Lead Case shall be the only Chapter 11 Case open

for the remaining administration, distribution and Claims reconciliation purposes, and the other

Remaining Matters, under the Plan.

         8.    To the extent not already paid, the fees required to be paid to the United States

Trustee pursuant to 28 U.S.C. § 1930(a) with respect to the Subsidiary Cases shall be paid by the

Disbursing Agent on behalf of the Lead Debtor as soon as reasonably practicable after the date of

entry of this Order. The Reorganized Debtors shall not be obligated to pay any fees to the

United States Trustee with respect to the Subsidiary Cases for any period after entry of this

Order.

         9.    The Clerk shall enter this Order individually on each of the dockets of the

Subsidiary Cases and thereafter such dockets shall be marked as “Closed”.

         10.   The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.

         11.   The Reorganized Debtors are authorized to take all actions necessary to carry out

the relief granted in this Order in accordance with the Motion.

         12.   This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

New York, New York
Dated: June 29, 2018
                                          /S/ Shelley C. Chapman
                                          THE HONORABLE SHELLEY C. CHAPMAN
                                          UNITED STATES BANKRUPTCY JUDGE
17-13381-scc   Doc 883   Filed 06/29/18 Entered 06/29/18 10:29:53   Main Document
                                      Pg 5 of 6



                                    Schedule 1

                                 Subsidiary Cases
17-13381-scc    Doc 883    Filed 06/29/18 Entered 06/29/18 10:29:53   Main Document
                                        Pg 6 of 6



                                    Debtor                Case Number
               NY Radio Assets, LLC                        17-13379
               Westwood One, Inc.                          17-13380
               Cumulus Media Holdings Inc.                 17-13382
               Cumulus Intermediate Holdings Inc.          17-13383
               Cumulus Broadcasting LLC                    17-13384
               Consolidated IP Company LLC                 17-13385
               CMP Susquehanna Radio Holdings Corp.        17-13386
               CMP KC Corp.                                17-13387
               CMP Susquehanna Corp.                       17-13388
               Chicago Radio Assets, LLC                   17-13389
               Atlanta Radio, LLC                          17-13390
               Chicago FM Radio Assets, LLC                17-13391
               Broadcast Software International            17-13392
               Catalyst Media, Inc.                        17-13393
               CMI Receivables Funding LLC                 17-13394
               Cumulus Network Holdings Inc.               17-13395
               Cumulus Radio Corporation                   17-13396
               DC Radio Assets, LLC                        17-13397
               Detroit Radio, LLC                          17-13398
               Dial Communications Global Media, LLC       17-13399
               IncentRev-Radio Half Off, LLC               17-13400
               IncentRev LLC                               17-13401
               KLIF Broadcasting, Inc.                     17-13402
               KLOS-FM Radio Assets, LLC                   17-13403
               LA Radio, LLC                               17-13404
               Minneapolis Radio Assets, LLC               17-13405
               Radio Assets, LLC                           17-13406
               Radio Metroplex, Inc.                       17-13407
               Radio Networks, LLC                         17-13408
               San Francisco Radio Assets, LLC             17-13409
               Susquehanna Media Co.                       17-13410
               Susquehanna Pfaltzgraff Co.                 17-13411
               Susquehanna Radio Corp.                     17-13412
               WBAP - KSCS Assets, LLC                     17-13413
               Westwood One Radio Networks, Inc.           17-13414
               WPLJ Radio, LLC                             17-13415
